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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF OKLAHOMA

LUIS M. ORTIZ,                                 )
                                               )
              Plaintiff,                       )
                                               )
v.                                             )      Case No. CIV-19-869-J
                                               )
SHREE MAHALAXMI INDUSTRIES,                    )
an Indian Corporation, et al.,                 )
                                               )
              Defendants.                      )

                                          ORDER

       On June 24, 2021, an ADR Report [Doc. No. 109] was filed in this case. The ADR Report

advises that Plaintiff and Defendant Seaboard Foods Services, Inc. (Seaboard) have reached a

settlement. Accordingly, the Court DENIES Seaboard’s Motion for Summary Judgment [Doc.

No. 86], Plaintiff’s Motion for Summary Judgment on Defendant, Seaboard Foods Services, Inc.’s

Contributory/Comparative Negligence Defense [Doc. 94], Plaintiff’s Motion for Sanctions Due to

Defendant Seaboard Foods Services, Inc.’s Spoliation of Evidence [Doc. No. 95], Seaboard’s

Motion to Strike and Exclude Opinions of Bradley N. Plank [Doc. No. 96], Seaboard’s Motion to

Strike and Exclude Opinions of William Munsell [Doc. No. 97], Seaboard’s Motion to Strike and

Exclude Certain Opinions of John Hadjioannou P.E. [Doc. No. 98], and Defendant Hil-Tech, LLC

d/b/a Gtech USA’s Daubert Motion Regarding Seaboard Foods Services, Inc.’s Expert William

R. Coleman [Doc. No. 99] as MOOT.

       IT IS SO ORDERED this 29th day of June, 2021.
